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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                             CASE NO. 20-61872-CIV-SINGHAL/HUNT

  ALAN DERSHOWITZ,

                Plaintiff,
  v.

  CABLE NEWS NETWORK, INC.,

             Defendant.
  _______________________________/
                     ORDER MODIFYING DISCOVERY PROCEEDINGS

         THIS CAUSE comes before the Court sua sponte. In light of a breakdown in the

  discovery process and an apparent inability on the part of the Parties to work out their

  issues in the manner expected of professionals, this Court finds it necessary to modify its

  discovery practices. Accordingly, the Parties in this Matter shall henceforth file no further

  discovery motions. Instead, the Parties shall appear for a weekly hearing to manage

  discovery issues. Prior to the hearing, the Parties shall meet and confer in an earnest

  attempt to work out their discovery issues. Should some narrow discovery issues remain,

  the Parties shall jointly submit a memorandum of no more than three (3) pages outlining

  the issues and the Parties’ respective positions. This memorandum shall be submitted

  to Chambers via email at hunt@flsd.uscourts.gov on or before noon on the business day

  prior to the hearing.

         The first hearing shall take place at 3:00 p.m. on August 1, 2022, and hearings

  shall continue every Friday at 3 p.m. until close of discovery or unless otherwise agreed.

  Counsel shall appear in person, though they may request an appearance by Zoom should

  an in-person appearance cause undue burden.
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         The Court reminds the Parties of the Introduction to the Local Rules of this Court,

  which states that “it is a fundamental tenet of this Court that attorneys in this District be

  governed at all times by a spirit of cooperation, professionalism, and civility. . . . [I]t

  remains the Court’s expectation that counsel will seek to accommodate their fellow

  practitioners . . . whenever reasonably possible and that counsel will work to eliminate

  disputes by reasonable agreement to the fullest extent permitted by the bounds of zealous

  representation and ethical practice.” This Court, having reminded the Parties of their

  obligations, notes that failure to live up to these expectations may result in sanctions to

  either—or both—Parties.

         DONE and SUBMITTED at Fort Lauderdale, Florida, this 24th day of July 2022.




                                            __________________________________
                                            PATRICK M. HUNT
                                            UNITED STATES MAGISTRATE JUDGE


  Copies furnished to:
  The Honorable Anuraag H. Singhal
  All counsel of record
